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16 ITALIC, INC.

17
                              UNITED STATES DISTRICT COURT
18
                          CENTRAL DISTRICT OF CALIFORNIA
19
20 ALO, LLC, a California limited liability Case No. 2:22-CV-00567-SSS-RAO
     company,
21                                            NOTICE OF LODGING
                 Plaintiff,                   STIPULATED JUDGMENT AND
22                                            PROPOSED ORDER
           v.
23
     ITALIC, INC., a Delaware corporation,
24
                 Defendants.
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                   NOTICE OF LODGING STIPULATED JUDGMENT AND PROPOSED ORDER
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 1         PLEASE TAKE NOTICE that David. H. Bernstein, Lead Trial Counsel for
 2
     Defendant Italic, Inc., hereby lodges the attached Stipulated Judgment and Proposed
 3
     Order to dismiss the above-captioned action.
 4

 5

 6 Dated: February 17, 2023.

 7
                                       By:          /s/ David H. Bernstein
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                   NOTICE OF LODGING STIPULATED JUDGMENT AND PROPOSED ORDER
